                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

UNITED STATES OF AMERICA,                        )
                                                 )
              Plaintiff,                         )
                                                 )
v.                                               )      No.:   3:10-CR-160-4
                                                 )             (VARLAN/GUYTON)
DUSTIN MORGAN,                                   )
                                                 )
              Defendant.                         )


                             MEMORANDUM AND ORDER

        This criminal matter is before the Court for consideration of the Report and

Recommendation entered by United States Magistrate Judge H. Bruce Guyton (the

“R&R”) [Doc. 129].         The R&R addressed defendant Dustin Morgan’s Motion to

Suppress [Doc. 93]. The magistrate judge held a hearing on the motion on March 12,

2012. The magistrate judge later issued the R&R [Doc. 129], recommending that the

Court deny defendant’s motion [Id. at 16]. The defendant has submitted objections to the

R&R [Doc. 130], and the government has submitted a response to those objections [Doc.

131].

I.      Background

        The defendant is charged with one count of conspiracy to distribute Schedule II

and Schedule IV controlled substances, in violation of 21 U.S.C. § 846, and one count of

possessing a firearm in furtherance of a drug trafficking crime, in violation of 18 U.S.C. §

924(c), as part of a twenty-five count superseding indictment in this case [Doc. 77]. The




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charges stem from the defendant’s involvement in Breakthrough Therapy Center

(“Breakthrough”), which was primarily operated by defendant’s mother, co-defendant

Sandra Kincaid, where it is alleged that controlled substances were unlawfully

distributed.   Magistrate Judge Guyton, after a hearing and considering the parties’

positions, made the following findings of fact with regard to defendant’s motion to

suppress:

              On December 14, 2010, DEA agents executed several search
       warrants related to an investigation of distribution of controlled substances
       from a pain clinic. One of these search warrants was for Breakthrough Pain
       Therapy Center owned by Sandra and Randy Kincaid. A SWAT team burst
       into the clinic, arrested the Kincaids pursuant to arrest warrants, and
       detained them in their office. While detained, the Kincaids gave their
       consent to search the clinic. Employees and patients remained inside the
       clinic during the subsequent search. Defendant Morgan, an employee of
       Breakthrough, was present during the search. As the search began, DEA
       Agent Derryle Smith was contacted by agents at the house the Defendant
       shared with his grandfather. These agents did not have a search warrant for
       this residence and sought the Defendant’s consent to search his locked
       bedroom. Agent Neil Morganstern filled in the areas to be searched and the
       date on the DEA’s standard Consent to Search form, and he and Agent
       Smith presented the form to Defendant Morgan. The Defendant read the
       form and signed it without hesitation. At that time, two to four other
       officers, besides Agents Smith and Morganstern, were in the area. No one
       yelled at the Defendant and his demeanor was calm.

              During the search of Breakthrough, agents found a loaded pistol in a
       holster in the Defendant’s desk. That same day agents also executed a
       search warrant for the Defendant’s safe deposit box at Alcoa Federal Credit
       union and seized currency from the safe deposit box.

[Doc. 129]. The defendant does not object to these findings of fact and the Court accepts

these findings of fact.



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        On the basis of these facts, Magistrate Judge Guyton first found, that with regard

to the search of the defendant’s desk, the search warrant issued as to Breakthrough, which

authorized the search of the clinic for patient files, currency, firearms, and various

business records, authorized agents to search the defendant’s desk. Next, with regard to

the search of defendant’s residence, Magistrate Judge Guyton found that, under the

totality of the circumstances, the defendant was not under arrest at the time he signed the

consent form, and did not appear to be nervous or agitated, or restrained in any way.

Noting that the executing officers could have legally detained the defendant incident to

execution of the search warrant, Magistrate Judge Guyton found that defendant was not

illegally seized and there was thus no Fourth Amendment violation in the search of his

residence. Finally, Magistrate Judge Guyton found that there was sufficient probable

cause to issue a search warrant of defendant’s safety deposit box and that the currency

found therein was within the scope of the search warrant.

II.     Standard of Review

        As required by 28 U.S.C. § 636(b)(1) and Rule 59(b) of the Federal Rules of

Criminal Procedure, the Court has undertaken a de novo review of those portions of the

R&R to which the defendant has objected, considering the R&R, the parties’ underlying

and supporting briefs, the defendant’s objections, and the government’s response to those

objections, all in light of the relevant law.




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III.   Analysis

       The Fourth Amendment protects the right to be free from unreasonable searches

and seizures. To that end, a judge may not issue a warrant for the search of a person,

home, or personal property except upon a finding of “probable cause, supported by oath

or affirmation, and particularly describing the place to be searched, and the persons or

things to be seized.” U.S. Const. amend. IV. With these guiding principles in mind, the

Court will address each of the defendant’s objections in turn.

       A.      The Search of Defendant’s Desk

       The defendant first argues that Magistrate Judge Guyton incorrectly held that the

search warrant covering Breakthrough authorized the search of defendant’s desk. The

defendant’s objection in this regard is twofold: 1) that the search warrant did not extend

to the search of his desk, in which he held a reasonable expectation of privacy; and 2) the

search warrant itself was invalid as applied to the defendant because there was

insufficient cause as to the defendant personally, given that he was not charged in the

indictment at the time and was not the “target of the investigation” [Doc. 130 at 2].

       The Court construes the defendant’s first argument as disputing the reasonableness

of the officers’ search of the defendant’s desk in executing the warrant.1 ‘“The general

touchstone of reasonableness which governs Fourth Amendment analysis governs the


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          While the defendant argues that he did not give consent to the search of his desk and
that the Kincaids did not have the authority to give such consent, the Court notes that no consent
was necessary, as long as the search of the desk was within the scope of a valid search warrant.
See Peterson v. Smith, 510 F. App’x 356, 365 (6th Cir. 2013) (nothing that “[c]onsent is a well-
recognized exception to the Fourth Amendment’s warrant requirement”).
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method of execution of the warrant.”’ Baranski v. Fifteen Unknown Agents of Bureau of

Alcohol, Tobacco, and Firearms, 452 F.3d 433, 445 (6th Cir. 2006) (quoting United

States v. Ramirez, 523 U.S. 65, 71 (1998)). “In answering the fundamental inquiry of

whether this search was reasonable, we of course look at the totality of the

circumstances.” Id. (internal quotation marks omitted).        When executing a search

warrant, the Sixth Circuit has noted that officers are reasonably permitted to look in those

areas where the objects of the search warrant may be located. See United States v.

Richards, 659 F.3d 527, 538 (6th Cir. 2011) (upholding extensive search of computer

files where items described in warrant could be reasonably be found); see also United

States v. Dawkins, 83 F. App’x 48, 52 (6th Cir. 2003) (noting that search of firearms

which included removing vent covers, opening cereal boxes, and the like, was

permissible because the areas searched “could very well have contained small arms or

ammunition”); United States v. McLavain, 310 F.3d 434, 439 (6th Cir. 2002) (finding that

search under bed and in garage was reasonable under plain view exception doctrine

because subject of fugitive warrant could hide in those locations).

       In this case, the search warrant issued for Breakthrough authorized the search of

the clinic for the following: patient files; records related to controlled substances;

currency; firearms and ammunition; financial and business records; addresses and

telephone numbers; and computers.2        An attachment to the warrant authorized the


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          Although a copy of the search warrant does not appear as an exhibit entered by the
parties, the Court accepts the magistrate judge’s description of the warrant, given that the
defendant does not object to this aspect of the R&R [See Doc. 129 at 6].
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opening of any locked safe or other compartment where property subject to seizure could

be held. From these facts, the Court concludes that the magistrate judge properly held

that the search for those items extended to the desk, as the desk could reasonably contain

not only firearms such as the one seized, but also patient files and other business records.

Although the defendant argues that the search was initiated merely to find grounds for

charging the defendant, the defendant has presented no evidence of bad faith or that the

search of the desk was conducted for any other reason than to recover the items listed in

the search warrant.

       As to the defendant’s second argument, that there was insufficient probable cause

as to him specifically to serve as the basis for a warrant, the Court finds this argument to

be meritless. The Sixth Circuit has held that “[t]he specificity required by the Fourth

Amendment is not as to the person against whom the evidence is to be used, but rather as

to the place to be searched and the thing to be seized.” United States v. Besase, 521 F.2d

1306, 1307 (6th Cir. 1975) (citations omitted). Moreover, “‘[s]earch warrants are not

directed at persons; they authorize the search of place[s] and the seizure of ‘things,’ and

as a constitutional matter they need not even name the person from whom the things will

be seized.’” United States v. Pinson, 321 F.3d 558, 564-65 (6th Cir. 2003) (quoting

Zurcher v. Stanford Daily, 436 U.S. 547, 556 (1978)). This principle underlies the Sixth

Circuit’s holding that property “owned by a person absolutely innocent of any

wrongdoing may nevertheless be searched under a valid warrant.” Mays v. City of

Dayton, 134 F.3d 809, 814 (6th Cir. 1998). The defendant does not challenge the validity

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of the search warrant of Breakthrough, the subject of the search warrant, which in turn

authorized the search of the defendant’s desk.           Accordingly, this objection is

OVERRULED.

       B.    Search of the Defendant’s Residence

      With regard to the search of his residence, the defendant contends that he did not

voluntarily give his consent to the search under the circumstances created by the

executing officers’ presence.    Specifically, the defendant argues that following the

dynamic raid, having witnessed the arrest of his mother and step-father, with agents at his

residence seeking consent, “a reasonable person would not have felt free to leave or free

to withhold consent” [Doc. 130 at 3]. The government responds that the defendant’s

assertions are inconsistent with the facts, as found by the magistrate judge, and that the

defendant’s signing of the consent form was a voluntary act.

      “It is well established that a warrantless search by law enforcement officials will

be upheld if a detainee has voluntarily consented to the search.”        United States v.

Shutters, 163 F.3d 331, 335 (6th Cir. 1998) (citing Schneckloth v. Bustamonte, 412 U.S.

218, 219 (1973)). The consent must be “voluntary, unequivocal, specific, intelligently

given, and uncontaminated by duress or correction.” United States v. Canipe, 569 F.3d

597, 602 (6th Cir. 2009). The government “bears the burden of proving the consent to

search was voluntary under the totality of the circumstances.” United States v. Salvo, 133

F.3d 943, 953 (6th Cir. 1998). “This burden entails proving by ‘clear and positive’

testimony that the consent was ‘unequivocal, specific, intelligently given and not

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influenced by any duress or coercion.’” Id. (quoting United States v. Taylor, 956 F.2d

572, 573 (6th Cir. 1992)).

       In this case, the facts indicate that the defendant was in the presence of agents

Smith and Morganstern at the time he signed the consent form. Several other employees

and patients of Breakthrough remained present during the search.              There were

approximately two to four other officers in the area, but the defendant does not claim that

they were near him or communicated with him in any way. The record does not indicate

that any of the officers raised their voices to the defendant, or that his demeanor was

anything other than calm. Further, the defendant signed the consent form, which Agent

Smith testified was done without any hesitation or appearance of nervousness. While the

defendant argues that he was detained by the DEA agents and was never told he could

leave, the Court notes that the defendant was not restrained in any way, nor did he ever

ask permission to leave. See Ohio v. Robinette, 519 U.S. 33 (1996) (holding that the

Fourth Amendment does not require law enforcement officers to advise seized

individuals that they are free to leave prior to requesting consent to search); see also

Canipe, 569 F.3d at 601-02 (noting that “absent reasonable suspicion of criminal activity,

a law enforcement officer must allow an individual to leave if he so requests, and any

consent obtained by the officer’s refusal to permit him to do so is invalid” (citation

omitted)). Moreover, agent Smith testified that the defendant was not under arrest at the

time, and was not arrested the day of the search. Nothing in the record indicates that the

consent to search the defendant’s residence was involuntary. The defendant has not

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presented any evidence or case law that would lead the Court to conclude that the

magistrate judge’s conclusion in this regard was erroneous; accordingly, this objection is

OVERRULED.

      C.     Search of Safe Deposit Box

      Finally, the defendant argues that the magistrate judge erred in finding a sufficient

nexus between the alleged crimes, the drug conspiracy and money laundering, and the

search deposit box, so that the search warrant was invalid. As the defendant was not

charged with a crime at the time the search warrant issued, the defendant argues, there

was no probable cause to believe that the safe deposit box contained proceeds of drug

distribution activities. The defendant also points to the fact that he was never charged

with money laundering as evidence that there was insufficient probable cause to justify

the issuance of a search warrant for the deposit box. The government responds by

arguing that the facts considered by the magistrate judge provided a substantial basis for

the conclusion that a search would uncover evidence of wrongdoing.

      Generally, probable cause to search means “a fair probability that contraband or

evidence of a crime will be found in a particular place.” Illinois v. Gates, 462 U.S. 213,

238 (1983). In other words, probable cause is “reasonable grounds for belief supported

by less than prima facie proof but more than mere suspicion.” United States v. Bennett,

905 F.2d 931, 934 (6th Cir. 1990). In reviewing the issuance of a search warrant based

on probable cause, courts are deferential to the issuing magistrate judge’s finding of

probable cause, which “‘should not be set aside unless arbitrarily exercised.’” United

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States v. Goff, 6 F.3d 363, 366 (6th Cir. 1993) (quoting United States v. Pelham, 801 F.2d

875, 877 (6th Cir. 1986)). The “duty of a reviewing court is simply to ensure that the

magistrate had a substantial basis for concluding that probable cause existed.” Gates,

462 U.S. at 238-39; see also United States v. Terry, 522 F.3d 645, 647 (6th Cir. 2008)

(noting that “when judging the sufficiency of an affidavit to establish probable cause in

support of a search warrant . . . reviewing courts are to accord the magistrate’s

determination great deference” (quotation omitted)). An affidavit in support of a search

warrant must show “a ‘nexus between the place to be searched and the evidence sought.’”

United States v. Laughton, 409 F.3d 744, 747 (6th Cir. 2004) (quoting United States v.

Carpenter, 360 F.3d 591, 594 (6th Cir. 2004)).

      In this case, the magistrate judge, relying upon the affidavit by IRS Special Agent

Phillip Brown, found a sufficient nexus between the safe deposit box and drug

conspiracy/money laundering crimes based on the following facts: (1) the description of

Breakthrough as a “pill mill” operation, based on the large number of patients at the

clinic, many of whom were from outside the county, and the clinic’s policy of only

accepting cash; (2) that several of Sandra Kincaid’s family members, including the

defendant, who is her son, worked at Breakthrough, and was responsible for collecting

cash payments from patients; (3) that the defendant’s safe deposit box was accessed

twenty-two times in a six month period, usually following a deposit by Ms. Kincaid; (4)

that on at least one occasion the defendant visited the safe deposit box and made a large

cash deposit immediately thereafter; (5) that each time the defendant accessed the safe

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deposit box, he took longer than other customers normally do; and (6) that the

defendant’s safe deposit box was full but not heavy, indicating that the box was filled

with cash [Doc. 129 at 14-15].

       The defendant does not dispute these findings, but argues that, as he was not

charged with money laundering, there was no probable cause to believe that evidence of

money laundering would be found in the safe deposit box. Thus, defendant argues, the

search of the safe deposit box was not reasonably related to any crimes charged against

him. The Court finds that this argument is meritless, however, because, as previously

noted, the focus in probable cause analysis is the relationship between the crimes

charged, the place to be searched, and the thing to be seized, rather than the person who

owns the property in question. See Pinson, 321 F.3d at 564-65. Given the large cash

proceeds generated by Breakthrough, the defendant’s role at Breakthrough as well as his

relationship with its owner, and the manner in which the defendant accessed his safe

deposit box, the Court concludes that there was a sufficient nexus between the safe

deposit box and the drug and money laundering conspiracies. Accordingly, the Court

concludes that there was probable cause to issue the search warrant for the safe deposit

box, and the defendant’s objection to the R&R in this regard will be OVERRULED.

III.   Conclusion

       In sum, after reviewing the record in this case, including the R&R, the objections,

the underlying briefs, and the relevant law, the Court determines that the magistrate judge

fully and appropriately considered the arguments in support of the motion to suppress.

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Further, the Court agrees with the magistrate judge’s analysis and findings. Accordingly,

and for the reasons previously stated, the defendant’s objections to the R&R [Doc. 130]

are OVERRULED, the R&R [Doc. 129] is ACCEPTED in whole, and the defendant’s

Motion to Suppress [Doc. 93] is hereby DENIED.

      IT IS SO ORDERED.



                                  s/ Thomas A. Varlan
                                  CHIEF UNITED STATES DISTRICT JUDGE




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